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              IN THE UNITED       STATES   DISTRICT COURT        FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




UNITED       STATES   OF AMERICA
                                             •


        v.                                   *              CR   112-239-5


DONTA DWAYN BETHA                            *




                                     ORDER




        On April 23,        2013,   Defendant Donta Dwayn Betha pleaded

guilty to conspiracy to possess with intent to distribute 5

grams or more of methamphetamine, in violation of 21 U.S.C. §

846.     He was sentenced to serve 216 months imprisonment.

        Presently,       Defendant has           filed a motion to reduce his

sentence under 18 U.S.C. § 3582(c) (2) based upon Amendment 7 94

to the United States Sentencing Guidelines.                         Amendment 794

sets out new guidelines for the determination of whether a

defendant should be granted a mitigating role reduction under

U.S.S.G.       §   3B1.2.


             Section 3582(c) (2) allows a court to modify an imposed

term of imprisonment if a defendant's sentencing range has

been     subsequently           lowered    by     the   Sentencing     Commission.

However,       this provision is only triggered by an amendment

listed in U.S.S.G. § 1B1.10(d) .                  ("In determining whether, and

to     what    extent,      a    reduction       in   the   defendant's      term   of
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imprisonment under 18 U.S.C. § 3582(c) (2)                 . . . is warranted,

. . . the court shall substitute only the amendments listed in

subsection       (d)     . . .      and shall leave all other guideline

application            decisions        unaffected"      (emphasis    added).).

Amendment       7 94    is    not   a    listed   amendment    in    U.S.S.G.   §

1B1.10(d).1       Consequently, even assuming Defendant's conduct

would otherwise             qualify him for a         "minor role"   reduction,

Amendment       794    is    not available to him retroactively in the

post-conviction context.

        Upon the foregoing, Defendant's motion to reduce sentence

(doc.    229)   is DENIED.

                                                              /C^^dav oi
        ORDER ENTERED at Augusta, Georgia, this ^^SX'" ^ day of

September,      2016.




                                            HONORABXJTJ.    RA1S10AL HALL
                                            UNITED SPATES DISTRICT JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA




     1    Indeed, the Sentencing Commission stated that
Amendment 794 is intended only as a clarifying amendment.
U.S.S.G. App. C, Amend. 794 (Reason for Amend.) ("This
amendment provides additional guidance to sentencing courts in
determining whether a mitigating role adjustment applies.").
